Case 2:09-cv-14315-RHC-MJH ECF No. 1 filed 11/03/09                      PageID.1     Page 1 of 10



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

CADILLAC HARDWARE, INC., a Michigan                 )
corporation, individually and as the                )
representative of a   class of similarly            )
situated persons,                                   )
                                                    )
                               Plaintiff,           )         No.
                                                    )
               v.                                   )
                                                    )
CHICKEN SHACK, INC., CHICKEN                        )
SHACK DEPOT, INC., and CHARLES J.                   )
THOMAS, JR.,                                        )
                                                    )
                               Defendants.          )

                                 CLASS ACTION COMPLAINT

       Plaintiff, CADILLAC HARDWARE, INC., a Michigan corporation (herein Plaintiff ),

brings this action on behalf of itself and all other persons similarly situated, through its attorneys,

and except as to those allegations that pertain to Plaintiff or its attorneys, which allegations are

based upon personal knowledge, alleges the following upon information and belief against

Defendants, CHICKEN SHACK, INC., CHICKEN SHACK DEPOT, INC., and CHARLES J.

THOMAS, JR. (herein Defendants ).

                                 PRELIMINARY STATEMENT

       1.      This case challenges Defendants policy and practice of faxing unsolicited

advertisements.

       2.      The Telephone Consumer Protection Act ( TCPA ), 47 U.S.C. § 227, prohibits a

person or entity within the United States from sending or having an agent send unsolicited faxed

advertisements.     The TCPA provides a private right of action for violations and provides

statutory damages of $500.00 per violation.
Case 2:09-cv-14315-RHC-MJH ECF No. 1 filed 11/03/09                        PageID.2   Page 2 of 10



         3.     Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its

fax machine, paper, and ink toner. An unsolicited fax also causes the recipient to waste valuable

time it would have spent on something else. Unsolicited faxes prevent fax machines from

receiving authorized faxes, prevent their use for authorized outgoing faxes, cause undue wear

and tear on the recipient fax machines, and require additional labor to attempt to discern the

source and purpose of the unsolicited message.

         4.     On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendants under the Telephone Consumer Protection Act,

47 U.S.C. § 227 ( TCPA ).

         5.     Plaintiff seeks an award of statutory damages for each violation of the TCPA.

                                  JURISDICTION AND VENUE

         6.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.

§ 227.

         7.     Venue in this district is proper because Defendants do business here and a

significant portion of the events took place here.

                                               PARTIES

         8.     Plaintiff, CADILLAC HARDWARE, INC., is a corporation which does business

within this judicial district.

         9.     On information and belief, Defendants, CHICKEN SHACK, INC. and CHICKEN

SHACK DEPOT, INC., are Michigan corporations which do business within this federal judicial

district. On information and belief, Defendant, CHARLES J. THOMAS JR., owns and operates

at least one of the locations and is a resident of this federal judicial district.




                                                    2
Case 2:09-cv-14315-RHC-MJH ECF No. 1 filed 11/03/09                  PageID.3     Page 3 of 10



                                              FACTS

       10.     On or about November 6, 2005, Defendants sent by telephone facsimile machine

an unsolicited advertisement to Plaintiff s facsimile machine. A copy of the facsimile is attached

hereto and marked as Exhibit A.

       11.     Defendants did not have Plaintiff s prior express invitation or permission to send

advertisements to Plaintiff s fax machine.

       12.     On information and belief, Defendants have sent similar unsolicited facsimile

advertisements to at least 39 other recipients.

       13.     There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving illegal faxes. Fax machines are left on and ready to receive the urgent communications

their owners desire to receive.

             TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227

       14.     In accordance with Fed. R. Civ. P. 23, Plaintiff brings this action pursuant to the

Telephone Consumer Protection Act, 47 U.S.C. § 227, on behalf of the following class of

persons:

               All persons that are holders of telephone numbers to which a
               facsimile transmission was sent on behalf of Defendants
               advertising or promoting the goods or services of Defendants at
               any time between four years prior to the filing of this suit to and
               including the present (the Class Period ).

       Excluded from the Class are Defendants, their officers, directors,

employees, agents, and members of the Judiciary.

       15.     Commonality [Fed. R. Civ. P. 23(A)(2)]. Common questions of law and fact

apply to the claims of all class members. Common material questions of fact and law include but

are not limited to the following:




                                                  3
Case 2:09-cv-14315-RHC-MJH ECF No. 1 filed 11/03/09                    PageID.4     Page 4 of 10



               (a)     Whether Defendants sent unsolicited fax advertisements;

               (b)     Whether Defendants facsimiles advertised the commercial availability of

       property, goods or services;

               (c)     The manner and method Defendants used to compile or obtain the list of

       fax numbers to which it sent Exhibit A and other unsolicited faxed advertisements;

               (d)     Whether Defendants faxed advertisements without first obtaining the

       recipients prior express permission or invitation;

               (e)     Whether Defendants sent the faxed advertisements knowingly;

               (f)     Whether Defendants violated the provisions of 47 U.S.C. § 227;

               (g)     Whether Plaintiff and the other members of the class are entitled to

       statutory damages; and

               (h)     Whether the Court should award treble damages.

       16.     Typicality [Fed. R. Civ. P. 23(a)(3)]. Plaintiff s claims are typical of the claims

of all class members. Plaintiff received a facsimile sent on behalf of Defendants advertising

goods and services of Defendants during the Class Period. Plaintiff is making the same claims

and seeking the same relief for itself and all class members based on the same federal statute.

Defendants have acted the same or in a similar manner with respect to Plaintiff and all the class

members.

       17.     Fair and Adequate Representation [Fed. R. Civ. P. 23(a)(4)]. Plaintiff will fairly

and adequately represent and protect the interest of the class. It is interested in this matter, has

no conflicts, and has retained experienced class counsel to represent the class.

       18.     Need for Consistent Standards and Practical Effect of Adjudication [Fed. R. Civ.

P. 23 (b)(1)]. Class certification is appropriate because the prosecution of individual actions by




                                                 4
Case 2:09-cv-14315-RHC-MJH ECF No. 1 filed 11/03/09                    PageID.5      Page 5 of 10



class members would: (a) create the risk of inconsistent adjudications that could establish

incompatible standards of conduct for Defendants, and/or (b) as a practical matter, adjudication

of Plaintiff s claims will be dispositive of the interests of class members who are not parties.

       19.     Common Conduct [Fed. R. Civ. P. 23 (b)(2)].              Class certification is also

appropriate because Defendants has acted and refused to act in the same or similar manner with

respect to all class members thereby making injunctive and declaratory relief appropriate.

Plaintiff demands such relief as authorized by 47 U.S.C. § 227.

       20.     Predominance and Superiority [Fed. R. Civ. P. 23(b)(3)]. Common questions of

law and fact predominate and a class action is superior to other methods of adjudication.

               (a)     Proof of the claims of Plaintiff will also prove the claims of the class

       without the need for separate or individualized proceedings;

               (b)     Evidence regarding defenses or any exceptions to liability that Defendants

       may assert and prove will come form Defendants records and will not require

       individualized or separate inquires or proceedings;

               (c)     Defendants have acted and is continuing to act pursuant to common

       policies or practices in the same or similar manner with respect to all class members;

               (d)     The amount likely to be recovered by individual class members does not

       support protested individual litigation. A class action will permit a large number of

       relatively small claims involving virtually identical facts and legal issues to be resolved

       efficiently in one proceeding based on common proofs;

               (e) This case is inherently managed as a class action in that:

                       (i)     Defendants identified persons or entities to receive the fax

               transmissions, and it is believed that Defendants computer and business records




                                                 5
Case 2:09-cv-14315-RHC-MJH ECF No. 1 filed 11/03/09                   PageID.6     Page 6 of 10



               will enable Plaintiff to readily identify class members and establish liability and

               damages;

                      (ii)    Liability and damages can be established for Plaintiff and the class

               with the same common proofs;

                      (iii)   Statutory damages are provided for in the statute and are the same

               for all class members and can be calculated in the same or a similar manner;

                      (iv)    A class action will result in an orderly and expeditious

               administration of claims, and it will foster economics of time, effort and expense;

                      (v)     A class action will contribute to uniformity of decisions

               concerning Defendants practices;

                      (vi)    As a practical matter, the claims of the class are likely to go

               unaddressed absent class certification.

       21.     The TCPA makes unlawful the           use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone facsimile machine

  . 47 U.S.C. § 227(b)(1).

       22.     The TCPA defines unsolicited advertisement, as any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person s express invitation or permission. 47 U.S.C. § 227(a)(4).

       23.     The TCPA provides:

                      3. Private right of action. A person may, if otherwise
               permitted by the laws or rules of court of a state, bring in an
               appropriate court of that state:

                             (A)     An action based on a violation of this
                      subsection or the regulations prescribed under this
                      subsection to enjoin such violation,




                                                6
Case 2:09-cv-14315-RHC-MJH ECF No. 1 filed 11/03/09                     PageID.7      Page 7 of 10



                                (B)    An action to recover for actual monetary
                        loss from such a violation, or to receive $500 in damages
                        for each such violation, whichever is greater, or

                                (C)     Both such actions.

        24.      The TCPA is a strict liability statute, so Defendants are liable to Plaintiff and the

other class members even if its actions were only negligent.

        25.      Defendants knew or should have known that (a) Plaintiff and the other class

members had not given express invitation or permission for Defendants or anybody else to fax

advertisements about Defendants goods or services, (b) that Plaintiff and the other class

members did not have an established business relationship, and (c) that Exhibit A is an

advertisement.

        26.      Defendants actions caused damages to Plaintiff and the other class members.

Receiving Defendants junk faxes caused the recipients to lose paper and toner consumed in the

printing of Defendants faxes.         Moreover, Defendants faxes used Plaintiff s fax machine.

Defendants faxes cost Plaintiff time, as Plaintiff and its employees wasted their time receiving,

reviewing and routing Defendants illegal faxes. That time otherwise would have been spent on

Plaintiff s business activities. Finally, Defendants faxes unlawfully interrupted Plaintiff s and

the other class members privacy interests in being left alone.

        27.      Defendants violated 47 U.S.C. § 227 et seq. by transmitting Exhibit A hereto to

Plaintiff and the other members of the class without obtaining their prior express permission or

invitation.

        WHEREFORE, Plaintiff, CADILLAC HARDWARE, INC., individually and on behalf

of all others similarly situated, demands judgment in its favor and against Defendants,




                                                   7
Case 2:09-cv-14315-RHC-MJH ECF No. 1 filed 11/03/09                      PageID.8      Page 8 of 10



CHICKEN SHACK, INC., CHICKEN SHACK DEPOT, INC., and CHARLES J. THOMAS,

JR., jointly and severally, as follows:

          A.   That the court adjudge and decree that the present case may be properly

maintained as a class action, appoint Plaintiff as the representative of the class, and appoint

Plaintiff s counsel as counsel for the class;

          B.   That the court award actual monetary loss from such violations or the sum of

$500.00 in damages for each violation whichever is greater; and

          C.   The court enjoin Defendants from additional violations; and

          D.   That the court award costs and such further relief as the court may deem just and

proper.

Dated: November 3, 2009                         CADILLAC HARDWARE, INC., individually and
                                                as the representative of a class of similarly-situated
                                                persons

                                                /s/ Jason J. Thompson (P47184)
                                                SOMMERS SCHWARTZ, P.C.
                                                2000 Town Center, Suite 900
                                                Southfield, MI 48075
                                                Telephone: 248-355-0300
                                                Fax: 248-436-8453
                                                jthompson@sommerspc.com

                                                Brian J. Wanca
                                                ANDERSON + WANCA
                                                3701 Algonquin Road, Suite 760
                                                Rolling Meadows, IL 60008
                                                Telephone: 847-368-1500
                                                Fax: 847-368-1501

                                                Phillip A. Bock
                                                BOCK & HATCH, LLC
                                                134 N. La Salle St., Suite 1000
                                                Chicago, IL 60602
                                                Telephone: 312-658-5500
                                                Fax: 312-658-5555
                                                Attorneys for Plaintiff



                                                   8
Case 2:09-cv-14315-RHC-MJH ECF No. 1 filed 11/03/09   PageID.9   Page 9 of 10
Case 2:09-cv-14315-RHC-MJH ECF No. 1 filed 11/03/09   PageID.10   Page 10 of 10
